                        UNITED STATES DISTRICT COURT
                     WESTERN DISTRICT OF NORTH CAROLINA
                            CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                          DOCKET NO. 3:05CR104

            V.                                                    ORDER

MICHAEL BRIAN MCCALL


       THIS MATTER IS BEFORE THE COURT on Defendant’s Motion for Early Termination

of Supervised Release (Doc. No. 908 ). The Local Rules of this Court require a Defendant to

inform the Court as to position of the United States Probation Office and the United States

Attorney’s Office on Defendant’s Motion. Because the Defendant has not informed the Court as

to those Offices’ positions, the Motion for Early Termination is DENIED without prejudice.

       IT IS SO ORDERED.


                                     Signed: September 28, 2021




     Case 3:05-cr-00104-FDW-DSC Document 919 Filed 09/28/21 Page 1 of 1
